          Case 6:13-cv-00019-AA          Document 167        Filed 12/12/17     Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                                       EUGENE DIVISION



CAROLLYNN GILES, et al., individually                                  Case No. 6:13-cv-00019-AA
and on behalf of all others similarly situated,                         OPINION AND ORDER

               Plaintiffs,

       vs.

ST. CHARLES HEALTH SYSTEM, INC., an
Oregon corporation doing business as
PIONEER MEMORIAL HOSPITAL; ST.
CHARLES MEDICAL CENTER- BEND; ST.
CHARLES MEDICAL CENTER- REDMOND;
And ST. CHARLES -MADRAS,

               Defendants.


AIKEN, District Judge:

       I have considered the Plaintiffs' Motion for Final Approval of Class Settlement (doc.

158), the supporting Declarations, and the complete record in this matter. Following a hearing, I

find that the settlement is fair, reasonable, and adequate. Fed. R. Civ. P. 23(e)(2).

       In the order preliminarily approving the settlement, I noted several areas that would need

to be addressed before final approval. Plaintiffs' counsel ably addressed each of those issues in




Page 1 - OPINION AND ORDER
            Case 6:13-cv-00019-AA       Document 167        Filed 12/12/17     Page 2 of 3




the motion for final approval. In approving the settlement, therefore, I make the following

findings:

        1. The amount offered in settlement-the most important factor from Ninth Circuit's test

regarding the fairness, reasonableness, and adequacy of class action settlements-favors

approval. Churchill Vil!., LLC v. Gen. Elec., 361 F.3d 566, 575 (9th Cir. 2004). The $6.365

million po11ion of the settlement that will be paid to the 1, 102 paiiicipating class members

represents nearly two thirds of the maximum gross recovery plaintiffs might have received at

trial. That is a very good result in view of the inherent uncertainty of going to trial (present even

where, as here, plaintiffs' claims appear very strong) and the benefits of avoiding depositions,

trial, and the years-long wait that proceeding through trial (and appeal) would have involved.

       2. The incentive awards for the fifty-one named plaintiffs are fair and reasonable. In

making this finding, I am patiicularly influenced by the fact that all class members received

specific notice about the size of incentive awards and that not a single person objected. I also

note that the incentive awards, which are approximately $9,800, are not dispropo11ionately large

compared to the mean per-class-member recovery of approximately $5,800.

       3. I commend the quality of class counsel's multiyear efforts in this case and note that the

briefing presented in connection with the settlement was clear, thorough, and very helpful to the

Cami. I suggest that class action practitioners might look to this settlement and the motions

practice associated with it as a model in future cases. I find that a fee award that is twenty-five

percent of the gross settlement is not only fair and reasonable, but falls below the typical

percentage approved in cases like this in this District. In making this finding, I once again

considered the fact that all class members received specific notice about the fee award, stated

both as a percentage in a dollar amount ($2.375 million), and tltat not a single person objected.



Page 2 - OPINION AND ORDER
          Case 6:13-cv-00019-AA         Document 167       Filed 12/12/17      Page 3 of 3




       4. Given the robust participation rate, any concern about the presence of a reverter clause

in the agreement is moot. No settlement funds will revert to defendants.

       Having further stated my findings on the record at the December 11, 2017 Fairness

Hearing, and for good cause shown, plaintiffs Motion for Final Approval of Class Settlement

(doc. 158) is GRANTED and I APPROVE the Class and Collective Action Settlement

Agreement (doc. 145-1). This case is DISMISSED with prejudice and without further fees or

costs to any paiiy. Judge McShane shall retain jurisdiction with regarding to the issues specified

in Sections 4.5.3 and 4.5.4 of the Settlement Agreement. I shall retain jurisdiction as to any issue

that may arise in connection with the formation and/or administration of the Qualified Settlement

Fund and as to any and all other matters arising out of, or related to, the implementation of the

settlement.

       IT IS SO ORDERED.



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       Dated thislh, of Decembef9Jl 7.
                                      ~cu.-J
                                           Ann Aiken
                                   United States District Judge




Page 3 - OPINION AND ORDER
